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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

 

COALITION FOR TJ,

Plaintiff,
Vv. Civil Action No. 1:21cv296
FAIRFAX COUNTY SCHOOL BOARD,

Defendant.

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MEMORANDUM OPINION

This matter comes before the Court on Plaintiff The
Coalition for TJ's (hereinafter “Coalition”) and Defendant
Fairfax County School Board’s (hereinafter “Board”) Cross-
Motions for Summary Judgment.

Thomas Jefferson High School for Science & Technology
(hereinafter “Td”) is a high school in Fairfax County, Virginia,
designated as an academic-year Governor's School. In 2020-21,
the racial makeup of TJ’s student body was 71.97% Asian
American, 18.34% white, 3.05% Hispanic, and 1.77% Black.

TJ is part of Fairfax County Public Schools (hereinafter
“FCPS”). FCPS is operated by the Board, a public body comprised
of twelve elected members. According to FCPS, the county-wide

racial makeup of FCPS students is: 36.8% white, 27.1% Hispanic,
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19.8% Asian American, and 10% Black.

In 2020, Board members were: Ricardy Anderson, Karen Keys-
Gamarra, Karen Corbett Sanders, Megan McLaughlin, Melanie K.
Meren, Karl Frisch, Elaine Tholen, Stella Petarsky, Tamara
Derenak Kaufax, Abrar Omeish, Rachna Sizemore Heizer, and Laura
Jane Cohen. FCPS’ superintendent was Scott Brabrand, TJ's
admissions director was Jeremy Shughart, and TJ’s principal was
Ann Bonitatibus.

The Coalition for TJ has more than 200 members, including
seventeen members of its core team and ten members of its
leadership team. The Coalition was founded in August 2020 to
oppose changes to admissions at TJ. The Coalition was concerned
that admissions changes at TJ would discriminate against Asian-
American students, and the leadership and core teams decided to
pursue this case by unanimous consensus.

Coalition members include Asian-American parents with
children who have applied to TJ or plan to do so in the near
future. Among these are Dipika Gupta (whose son, A.G., is in
eighth grade at Carson Middle School and has applied to TJ) and
Ying McCaskill (whose daughter, S.M., is in seventh grade at
Carson and plans to apply to TJ). Another member is Harry
Jackson, whose daughter, V.J., an eighth grader at Carson,
identifies as Black but is half Asian American.

Students must apply to TJ in order to be admitted. Students
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residing in five participating school divisions are eligible to
apply to TJ: Fairfax County, Loudoun County, Prince William
County, Arlington County, and Falls Church City. In the fall of
2020, the Board altered the TJ admissions process.

Before the Board's fall 2020 changes, applicants to TJ were
required to (a) reside in one of the five participating school
divisions; (b) be enrolled in 8th grade; (c) have a minimum core
3.0 grade point average (GPA); (d) have completed or be enrolled
in Algebra I; and (e) pay a $100 application fee, which could be
waived based on financial need.

Applicants who satisfied those criteria were administered
three standardized tests: the Quant-Q, the ACT Inspire Reading,
and the ACT Inspire Science. Those applicants who achieved
certain minimum scores on the tests advanced to a “semifinalist”
round. Students were selected for admission from the
semifinalist pool based on a holistic review that considered GPA,
test scores, teacher recommendations, and responses to three
writing prompts and a problem-solving essay.

The Board’s fall 2020 changes to admission at TJ removed
the standardized tests requirement and altered the minimum
requirements to apply. To be eligible for TJ under the new
policy, students must: (a) maintain a 3.5 GPA; (b) be enrolled in
a full-year honors Algebra I course or higher; (c) be enrolled in

an honors science course; and (d) be enrolled in at least one
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other honors course or the Young Scholars program.

The Board also changed the evaluation process, moving froma
multi-stage process to a one-round holistic evaluation that
considers GPA, a Student Portrait Sheet, a Problem Solving Essay,
and certain “Experience Factors,” which include an applicant’s
(a) attendance at a middle school deemed historically
underrepresented at TJ; (b) eligibility for free and reduced
price meals; (c) status as an English language learner; and (d)
status as a special education student.

In addition to the changes to the eligibility and the
evaluation criteria, the new process guarantees seats for
students at each public middle school in participating school
division equivalent to 1.5% of the school’s eighth grade class
size, with seats offered in the first instance to the highest-
evaluated applicants from each school. After the guaranteed
seats are filled, about 100 unallocated seats remain for
students who do not obtain an allocated seat. The highest-
evaluated remaining students are offered admission.

For the Class of 2025-the first year under the new system—
the admitted class size increased by 64 students.
Nevertheless, TJ admitted 56 fewer Asian-American students
than it had the prior year. For the previous five years,
Asian-American students never made up less than 65% of the

admitted class. For the Class of 2024, Asian-American
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students earned approximately 73% of the seats. Following the
admissions changes, the proportion of Asian-American students
admitted for the Class of 2025 fell to about 54%. For the
Class of 2025, 48.59% of eligible applicants to TJ were Asian
American.

In May 2020, the Virginia General Assembly enacted a
requirement that Governor's Schools develop diversity goals
and submit a report to the Governor by October 1, 2020. 2020
Va. Acts ch. 1289, item 145.C.27(i). The report must include
the status of the school's diversity goals, including a
description of admission processes in place or under
consideration that promote access for historically underserved
students; and outreach and communication efforts deployed to
recruit historically underserved students.

On May 25, 2020, George Floyd was murdered by a police
officer in Minneapolis. Nationwide protests followed,
including in Fairfax County and the greater metropolitan
Washington D.C. area.

On June 1, 2020, the Class of 2024 TJ admissions statistics
were made public, showing that the number of Black students
admitted was too small to report. On June 7, Bonitatibus wrote a
message to the TJ community that “recent events in our nation
with black citizens facing death and continued injustices remind

us that we each have a responsibility to our community to speak
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up and take actions that counter racism and discrimination in
our society.” She went on to comment that the TJ community “did
not reflect the racial composition in FCPS” and that if TJ did
reflect FCPS’s racial demographics, it “would enroll 180 black
and 460 Hispanic students, filling nearly 22 classrooms.”

In June emails, Corbett Sanders promised intentional
action. In an email to Brabrand, Corbett Sanders wrote that “the
Board and FCPS need to be explicit in how we are going to
address the under-representation of Black and Hispanic
students.” At a June 18 Board meeting, Keys-Gamarra said that
“in looking at what has happened to George Floyd, we now know
that our shortcomings are far too great . .. so we must
recognize the unacceptable numbers of such things as the
unacceptable numbers of African Americans that have been
accepted to T.J.”

In the summer of 2020, Keys-Gamarra, Brabrand, Bonitatibus,
and Shughart all attended at least one meeting of a state-level
task force on diversity, equity, and inclusion at Governor’s
Schools. The task force discussed solutions for admissions to
Virginia's Governor’s Schools. Among the solutions discussed was
a potential state plan to require each school’s diversity metrics
to be within 5% of the system it represents within four years.

Brabrand testified that he perceived that there was “State-

level dynamics, one, reflected by the October 1 report, and,
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two, by the Secretary of Education’s task force that simple
status quo, a report with just, we’re just doing the same thing
we've always done was not going to be received well.” Corbett
Sanders and Omeish stressed the reporting deadline in emails.

FCPS staff then developed a proposal for a “Merit Lottery”
for TJ admissions, which they presented to the Board on
September 15. The proposal stated that “TJ should reflect the
diversity of FCPS, the community and Northern Virginia.” The
proposal discussed the use of “regional pathways” that would cap
the number of offers each region in FCPS (and the other
participating jurisdictions) could receive. It included the
results of Shughart’s modeling, which showed the projected racial
effect of applying the lottery with regional pathways to three
previous TJ classes. Each of the three classes would have
admitted far fewer Asian-American students under the proposed
lottery system.

At an October 6 Board work session, FCPS staff proposed
using a holistic review to admit the top 100 applicants, but
otherwise retain the lottery and regional pathways. The
presentation introduced consideration of “Experience Factors,”
and noted an “advantage” of the proposal was that it
“statistically should provide some increase in admittance for
underrepresented groups.”

The Board also took several votes, which it typically
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does not do during work sessions. One vote unanimously
directed Brabrand to eliminate the TJ admissions
examination. Another required that the diversity plan
submitted to the state “shall state that the goal is to
have TJ's demographics represent the NOVA region.” The
public description of the work session did not provide
notice that votes would be taken, and no public comment was
permitted before either vote. At the October 8 regular Board
meeting, by a 6-6 vote, the Board rejected a motion that would
have directed Brabrand to engage stakeholders regarding changes
to TJ admissions for the 2021 freshman class prior to bringing
the updated plan to the Board in December, and allow for more
thorough community input and dialogue on TJ admissions.

Following this vote, multiple Board members expressed concern
with the speed of the process and the adequacy of public
engagement. Tholen wrote in her October newsletter to
constituents that “the outreach to date has been one-sided and
did not solicit input from all of our communities.” Meren wrote
in an October 6 email that she “was not okay with the rushed
situation we are in.” Sizemore Heizer wrote on October 4 that
“personally I think we need to wait to implement anything
[un] til next school year.”

Beginning in November, FCPS staff presented an entirely

holistic plan for the Board to consider alongside the revised
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merit lottery. Board discussion of the new holistic plan was
originally scheduled for November 17, but Corbett Sanders and
Derenak Kaufax complained to Brabrand via email that they had
only received the white paper containing analysis and modeling
the night before. The discussion was postponed until December 7,
when staff presented it to the Board alongside the revised merit
lottery. The holistic plan retained the use of regional
pathways, which capped the number of offers from each region.

Following the December 7 work session, Board members
exchanged several draft motions in anticipation of the December
17 regular meeting. However, on December 16, Keys-Gamarra emailed
Brabrand to express concern that “there were no posted motions
for us to vote on.” McLaughlin wrote that “it is unacceptable
that no motions/amendments/follow-ons were posted nor provided to
the full Board until 4:30 p.m.,” which was 30 minutes before the
Board went into Closed Session.

At the December 17 meeting, the Board voted down the revised
merit lottery proposal. The Board ultimately voted 10-1-1 (with
McLaughlin abstaining and Anderson, who had supported the
lottery, voting no) for a version of the proposed holistic plan.
The Board’s enacted plan rejected the proposed regional pathways
in favor of guaranteed admission for 1.5% of each eighth-grade
class. Because it was a variation on staff's proposed holistic

plan, the public did not see the 1.5% plan until motions were
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posted just before the Board meeting.

Board member communications show a consensus that, in their
view, the racial makeup of TJ was problematic and should be
changed. Some Board members also expressed the belief that the
process of revising TJ admissions had been shoddy and rushed
along, with McLaughlin writing in emails that “this is not how |
the Board should conduct its business” and “in my 9 years, I
cannot recall a messier execution of Board-level work.” In an
email after the final vote, she said she had “abstained largely
because of the substandard process.”

After the vote, several Board members were not sure whether
the 1.5% guarantee would be based on the school a student
actually attended or the one she was zoned to attend. Brabrand
insisted that the Board had voted for “attending school,” which
“produced the geographic distribution the Board wanted.”

Summary judgment “is appropriate ‘if the pleadings,
depositions, answers to interrogatories, and admissions on file,
together with the affidavits, if any, show that there is no
genuine issue as to any material fact and that the moving party
is entitled to judgment as a matter of law.’” ACLU v. Mote, 423

F.3d 438, 442 (4th Cir. 2005) (quoting Anderson v. Liberty

 

Lobby, Inc., 477 U.S. 242, 247 (1986)). “A genuine issue of
Material fact is one ‘that might affect the outcome of the suit

under the governing law.’” Metric/Kvaerner Fayetteville v. Fed.

 

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Ins. Co., 403 F.3d 188, 197 (4th Cir. 2005) (quoting Anderson,
477 U.S. at 248). There are no material facts in dispute and the
parties agree that this case is ripe for summary judgment.

An association may sue on behalf of its members when “(a)
its members would otherwise have standing to sue in their own
right; (b) the interests it seeks to protect are germane to the
organization's purpose; and (c) neither the claim asserted nor
the relief requested requires the participation of individual

members in the lawsuit.” Hunt v. Wash. State Apple Advert.

 

Comm'n, 432 U.S. 333, 343 (1977); see also Md. Highways

 

Contractors Ass‘n, Inc. v. Maryland, 933 F.2d 1246, 1251 (4th

 

Cir. 1991). The Coalition satisfies these requirements.

The Coalition is a membership organization with more than
200 members. Its leadership and core teams chose to pursue this
case by unanimous consensus. It has members with children in
seventh and eighth grade who have applied, or plan to apply, to
TJ. These members would have standing to sue in their own right
because the challenged policy renders their children unable to
compete on a level playing field for a racial purpose. See
Parents Involved in cmty. Schs. v. Seattle Sch. Dist. No. 1, 551
U.S. 701, 719 (2007).

The remaining Hunt factors are also not in dispute. The

Coalition was formed precisely to oppose the Board’s effort to

change admissions at TJ. Because the Coalition seeks only

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prospective injunctive relief, individual participation of

members as parties is not necessary. United Food and Com.

 

Workers Union Local 751 v. Brown Grp., Inc., 517 U.S. 544, 546
(1996). The Coalition has standing to bring this action on
behalf of its members.

Throughout this process, Board members and high-level FCPS
officials expressed their desire to remake TJ admissions
because they were dissatisfied with the racial composition of
the school. A means to accomplish their goal of achieving
racial balance was to decrease enrollment of the only racial
group “overrepresented” at TJ-—Asian Americans. The Board
employed proxies that disproportionately burden Asian-American
students. Asian Americans received far fewer offers to TJ after
the Board's admissions policy overhaul.

Strict scrutiny applies to government actions “not just
when they contain express racial classifications, but also when,
though race neutral on their face, they are motivated by a

racial purpose or object.” Miller v. Johnson, 515 U.S. 900, 913

 

(1995). The record demonstrates that the Board harbored such a
purpose. Strict scrutiny therefore applies, and the Board cannot
show that its actions meet this demanding standard of judicial
scrutiny.

Determining racial purpose “demands a sensitive inquiry

into such circumstantial and direct evidence of intent as may be

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available.” Vill. of Arlington Heights v. Metro. Housing Dev.

 

Corp., 429 U.S. 252, 266 (1977). Relevant factors include: (1)
the impact of the official action; (2) the historical background
of the decision; (3) the specific sequence of events leading up
to the challenged decision; and (4) the legislative or
administrative history . . . especially where there are
contemporary statements by members of the decision-making body,
minutes of its meetings, or reports. Id. at 266-68.
Impermissible racial intent need only be a motivating factor. It
need not be the dominant or primary one. Id. at 265-66. The Board
members need not harbor racial animus to act with discriminatory
intent. See N.C. State Conference of NAACP v. McCrory, 831 F.3d
204, 233 (4th Cir. 2016). To trigger strict scrutiny, the Board
need only pursue a policy at least in part because of, not
merely in spite of, the policy's adverse effects upon an
identifiable group. Pers. Adm’r of Mass. v. Feeney, 442 U.S.
256, 279 (1979).

Once strict scrutiny applies, the burden shifts to the
Board to prove that the changes are narrowly tailored to further
a compelling government interest. Adarand Constructors, Inc. v.
Pena, 515 U.S. 200, 227 (1995). “This most exacting standard ‘has
proven automatically fatal’ in almost every case.” Fisher v.

Univ. of Tex. at Austin, 570 U.S. 297, 316 (2013) (Scalia, J.,

 

concurring) (quoting Missouri v. Jenkins, 515 U.S. 70, 121

 

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(1995) (Thomas, J., concurring)).
Here, no dispute of material fact exists regarding any of

the Arlington Heights factors, nor as to the ultimate question

 

that the Board acted with discriminatory intent. Under Arlington
Heights, disparate impact is the starting point for determining
whether the Board acted with discriminatory intent. The Board’s
overhaul of TJ admissions has had, and will have, a substantial
disparate impact on Asian-American applicants to TJ.
-A comparison of publicly available data for the Class of

2025 with earlier classes tells much of the story. As depicted
in the table below, the number and proportion of Asian-American

students offered admission to TJ fell following the challenged

 

 

 

 

 

 

 

changes.
Class] Offers to Asian- Asian American proportion of
American students offers (rounded)
2025 | 299 54%
2024 | 355 73%
2023 | 360 73%
2022 | 316 65%
2021 | 367 75%
2020 ; 335 69%

 

 

 

 

 

The proper method for determining the “impact of the

official action,” Arlington Heights, 429 U.S. at 266, isa

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simple before-and-after comparison. See McCrory, 831 F.3d at
231(finding impact sufficient to support an inference of
discriminatory intent where African Americans disproportionately
used each of the removed mechanisms to vote).

This case presents substantial evidence of disparate
impact. The undisputed evidence demonstrates precisely how the
Board's actions caused, and will continue to cause, a
substantial racial impact. The Board instituted a system that
does not treat all applicants to TJ equally. The new process
sets aside seats for students at each middle school amounting to
1.5% of the school’s eighth-grade class. The highest-evaluated
students at each school—so long as they meet the minimum
admissions requirements—gain admission to TJ. Those applicants
who do not attain one of the allocated seats at their school are
relegated to compete for about 100 total unallocated seats. The
set-aside disproportionately forces Asian-American students to
compete against more eligible and interested applicants (often
each other) for the allocated seats at their middle schools.

The set-aside is only part of the equation. When applicants
outside the top 1.5% are thrown into the unallocated pool,
students are again treated unequally. This became publicly known
when FCPS announced consideration of “Experience Factors” in the
holistic evaluation. One of these factors is whether a student

attends a middle school deemed “historically underrepresented at

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TJ.” None of the six major FCPS TJ feeder schools qualify, so
students at these schools are placed at a significant
disadvantage in the unallocated pool compared to their peers at
underrepresented schools.

It is clear that Asian-American students are
disproportionately harmed by the Board’s decision to overhaul TJ
admissions. Currently and in the future, Asian-American
applicants are disproportionately deprived of a level playing
field in competing for both allocated and unallocated seats.

Placing the Board’s actions in historical context leaves
little doubt that its decision to overhaul the TJ admissions
process was racially motivated. In a November 2020 white paper
presented to the Board, staff noted that over the past ten years,
the admissions process has undergone a series of changes that
were intended to impact issues of diversity and inclusion, but
these changes have not made a significant impact on the diversity
of the applicants or admitted students. The supposed
ineffectiveness of this decade-long tinkering provides the basis
for understanding how 2020 events effected the Board’s
admissions changes.

Two specific triggering events accelerated the Board's
process and timeline. First, the Virginia General Assembly passed
a budget bill in March that required Governor’s Schools to

submit a report to the Governor on the existence of and progress

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towards diversity goals, including a description of admission
processes in place or under consideration that promote

access for historically underserved students; and outreach and
communication efforts deployed to recruit historically
underserved students. Second, the murder of George Floyd on May
25, 2020, shortly followed the release of the Class of 2024
admissions data on June 1, showing that the number of Black
students admitted was too small to be reported.

The Board and FCPS reacted by pushing TJ admissions
changes. On June 7, Bonitatibus sent a statement to the TJ
community that referenced the George Floyd murder and lamented
that TJ “does not reflect the racial composition in FCPS,”
specifically noting the number of Black and Hispanic students TJ
would have if it truly reflected FCPS. Around the same time,
Corbett Sanders stated in a series of emails that she was “angry
and disappointed” about the TJ admissions results and expected
“intentful action forthcoming.” She relayed a similar message to
Brabrand, writing that “the Board and FCPS needed to be explicit
in how we are going to address the under-representation of Black
and Hispanic students.” Cohen told a constituent that the number
of Black students admitted was “completely unacceptable,” and
that the Board was “committed to examining and bettering” the
admissions process. Later that month, Keys-Gamarra said at a

Board meeting “in looking at what has happened to George Floyd,

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we now know that our shortcomings are far too great .. . so we
must recognize the unacceptable numbers of such things as the
unacceptable numbers of African Americans that have been
accepted to TJ.”

Over the summer of 2020, Keys-Gamarra, Brabrand, and
Shughart participated in state-level task force meetings on
admissions to Governor's Schools, after which Brabrand told the
Board there “was talk about the state creating a four-year
timeline for diversity, requiring Governor’s schools to be within
5% of diversity in their local districts.” The looming specter of
a Richmond takeover pushed the Board to act quickly to change TJ
admissions with an explicit eye towards its racial composition.
As Brabrand testified, he believed this October 1 requirement to
submit a report meant “we needed to look at our admissions
process at TJ.” In August, he told Corbett Sanders via email that
“whatever the Board decides to do or not do in September will
ultimately influence what the Governor and the Secretary of
Education decide in January.” Omeish wrote in a September email
that she had “come to understand that the Virginia Department of
Education plans to intervene if we do not.”

The impetus to overhaul TJ admissions came from several
sources, all of which confirm that the Board and high-level FCPS
actors set out to increase and decrease the representation of

certain racial groups at TJ to align with districtwide enrollment

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data. Board members promised action on TJ admissions that would
specifically address the school’s racial makeup. After the
summer state task force, FCPS officials scrambled to meet a
perceived deadline from Richmond to overhaul admissions with
race in mind.

Arlington Heights requires consideration of “the ‘specific

 

sequence of events leading up to the challenged decision.’”

McCrory, 831 F.3d at 227 (quoting Arlington Heights, 429 U.S. at

 

267). “In doing so, a court must consider ‘[d]epartures from the
normal procedural sequence,’ which may demonstrate that ‘improper

purposes are playing a role.‘” Id. (quoting Arlington Heights,

 

429 U.S. at 267). Here, there are several indications that (1)
the process for changing TJ admissions was unreasonably hurried
and (2) there was a noticeable lack of public engagement and
transparency—even among Board members. While the Board does not
appear to have broken any procedural rules, the evidence shows
that, for such a significant set of actions, the procedure was
remarkably rushed and shoddy. All this suggests that the Board
sought to move quickly because, as Board member Omeish put it in
a November email, the Board was “currently incurring
reputational/political risks” meaning that “now is better
timing.”

After they participated in the state task force, Brabrand,

Shughart, and other staff developed a “Merit Lottery” proposal

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for TJ admissions. Brabrand presented the proposal at a Board
work session on September 15, 2020. The presentation detailed a
proposal to select TJ students via a lottery with regional
pathways for five separate FCPS regions and the remaining
jurisdictions that TJ serves. The presentation focused on the
projected racial effect, presenting the results of modeling
Shughart had run to demonstrate the effect of applying the
lottery to three previous TJ classes. Namely, a drastic drop in
Asian-American students at TJ. Brabrand’s PowerPoint indicated
that a final decision on implementing the lottery could be made
as early as the October 8, 2020, regular Board meeting.

The Board disrupted these plans. Three days after the
September 15 work session, Corbett Sanders told Brabrand in an
email that the plan released on Monday “has caused confusion in
the community because of the over-reliance on the term lottery
vs. merit.” Once it became clear that most of the Board members
were opposed to a lottery for various reasons, Brabrand told the
Board on September 27 that staff would prepare and present an
alternative admissions proposal. Corbett Sanders expressed hope
that, unlike the first proposal, “[i]deally we will be able to
look at the plan in advance of the meeting.”

There was also the issue of the October state reporting
deadline. Corbett Sanders emailed Brabrand on September 19 that

“it is not the timing of the work session that is energizing the

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community. It is the timing of looking at TJ.” She suggested
that “we make it clear that we are responding to a statutory
mandate.” In an earlier email to Brabrand, she suggested that he
“clarify that we have a statutory requirement to submit a plan to
the state by 9 October.” Yet other Board members questioned
whether the Board had to overhaul admissions in such a short
timeframe. McLaughlin told a constituent that “Brabrand has
created a false urgency that FCPS must drastically overhaul the
TJ Admissions process within a three week decision-making
window.” Tholen forwarded to Board colleague Pekarsky an email
from a member of the community who said she had talked to the
Virginia Department of Education and was told that the plan
submitted to the state could be “aspirational” and “general” and
there was “no mandate for Governor’s Schools to produce a more
diverse population.”

Nevertheless, the Board pursued admissions policy changes.
At an October 6 work session, the Board viewed a presentation
from Brabrand that proposed a revised merit lottery. It would
have set aside seats for the 100 highest-evaluated applicants and
selected the remaining seats via lottery among the students who
met the minimum requirements after holistic review. The Board
also took several votes at the work session, something it has
acknowledged it does not typically do. Among these, it

unanimously voted to remove the longstanding admissions exam

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without any public notice that such a vote would occur. Then,
while Board members expressed concern at a process that was
moving too fast, the Board, at its regular meeting two days
later, rejected a motion that would have directed Brabrand to
engage stakeholders and allow for more community input before
presenting a final plan. Tholen lamented to her constituents
that the motion had failed and “the outreach to date has been
-one-sided and did not solicit input from all of our
communities.”

After the October 6 work session, with support for any sort
of lottery waning, the Board sought an entirely holistic
proposal. A next-step for the staff was to bring to the Board a
holistic admissions approach that did not contain a lottery as
an alternative plan. On November 16, FCPS staff released a white
paper detailing a holistic option alongside the hybrid merit
lottery. The white paper included voluminous racial modeling and
discussion of efforts to obtain racial diversity at TJ. These
plans were initially to be discussed at a November 17 work
session, but multiple Board members protested that the white
paper was posted far too late for proper consideration.

The TJ discussion was ultimately postponed until December
7, when Brabrand presented the hybrid merit lottery and the new
holistic plan at another work session. The holistic method

involved consideration of GPA, the Student Portrait Sheet, the

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Problem Solving Essay, and the “Experience Factors,” including
attendance at an underrepresented middle school, with regional
caps similar to those in the Merit Lottery. Thereafter, Board
members exchanged draft motions almost right up until the Board
met to make a final decision on December 17. In the early
morning of December 16, Keys-Gamarra emailed Brabrand and
expressed concern that there were “no posted motions for us to
vote on.” McLaughlin chastised the Board both during the
December 17 meeting and afterward, noting the failure to post any
motions to the public or for the full Board until a half hour
before the closed session began.

At the December 17 meeting, the Board voted down the hybrid
merit lottery proposal by a vote of 4-8. Then it voted ona
motion to direct Brabrand to implement the holistic proposal,
except replacing the regional pathways with guaranteed admission
to the top 1.5% of the 8th grade class at each public middle
school who meet the minimum standards. The 1.5% plan had not
been presented publicly in any meeting before it was voted on.
The vote passed by a margin of 10-1-1, with Anderson (who had
voted for the lottery) voting no and McLaughlin abstaining.
McLaughlin later wrote that she abstained at least in part
because of the problematic process. She later wrote that “this
is not how the Board should conduct its business,” and that she

“could not recall a messier execution of Board-level work in her

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nine years on the Board.”

After the vote, Board members were unsure whether the top
1.5% was to be selected by a student’s base school or attending
school—a question with significant ramifications because some
FCPS schools have Advanced Academic Program (AAP) Level IV
centers that draw in students from other middle school zones to
attend them. Multiple Board members questioned staff regarding
this topic after the Board voted to implement the holistic plan.
Brabrand insisted that the Board had voted for “attending
school,” which represented the “geographic distribution the
Board wanted.” In the rush to overhaul admissions, some Board
members were confused about what they had done.

The evidence shows the process was rushed, not transparent,
and more concerned with simply doing something to alter the
racial balance at TJ than with public engagement. The decision to
vote on eliminating the TJ admissions examination at a work
session without public notice is an unusual procedure. The same
can be said for the lack of public engagement. The Board held
full, public meetings on renaming Mosby Woods Elementary School
and Lee High School, but the public did not even see the proposed
plan that the Board actually adopted for TJ admissions until 30
minutes before the final meeting.

“The legislative history leading to a challenged provision

‘may be highly relevant, especially where there are

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contemporaneous statements by members of the decisionmaking
body, minutes of its meetings, or reports.'” McCrory, 831 F.3d

at 229 (quoting Arlington Heights, 429 U.S. at 268). Here,

 

emails and text messages between Board members and high-ranking
FCPS officials leave no material dispute that, at least in part,
the purpose of the Board’s admissions overhaul was to change the
racial makeup to TJ to the detriment of Asian-Americans.

The discussion of TJ admissions changes was infected with
talk of racial balancing from its inception. This was apparent
from the first proposal FCPS staff released after Brabrand
attended the state task force and told the Board about a
potential state plan to require demographic balance at
Governor's Schools. The second slide of the initial merit
lottery presentation declared that TJ should reflect the
diversity of FCPS, the community and Northern Virginia. The
subsequent slides, comparing historical TJ admissions data by
race with the racial makeup of FCPS and focusing on the racial
effect of implementing a lottery, make clear that diversity
primarily meant racial diversity.

While a majority of the Board did not support Brabrand's
lottery proposal, the dissenters nonetheless embraced racial
balancing. McLaughlin, who opposed the lottery, proposed her own
plan based on her experience as a university admissions officer.

Referencing that the Supreme Court has ruled that diversity is a

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compelling state interest, Mclaughlin’s proposal was designed to
mimic those universities that use holistic admissions to ensure
their accepted student pools reflect both the demographic
diversity and the high-achievement of their applicant pools. To
help the acceptance pool more closely reflect the applicant
pool's demographic diversity, the proposal set aside seats for
demographically diverse students. Tholen responded to
McLaughlin’s plan with similar skepticism of a lottery, stating
that a lottery “seems to leave too much to chance” and asking:
“will chance give us the diversity we are after?” Some Board
members opposition to the lottery was at least in part due toa
fear that a lottery might not go far enough to achieve racial
balancing.

At the next work session on October 6, the Board adopted a
resolution requiring that FCPS‘ annual diversity report to the
state “shall clarify that the goal is to have TJ's demographics
represent the NOVA region.” It passed 11-0-1, with only Meren
abstaining. This was more than an aspirational goal to be
achieved by encouraging Black and Hispanic students to apply to
TJ. Board members sought to use geography to obtain their
desired racial outcome. Corbett Sanders advised Brabrand in
late September that “it will be important to better
communicate why a geographic distribution of students across

the county will result in a change in demographics to include

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more students that are FRM [qualify for free or reduced-price
meals], ELL [English language learners], black, Hispanic, or
twice exceptional.” The day before the work session, she emailed
a constituent that she was “urging the superintendent to modify
his plan to take into account geographic diversity as well as
students on free and reduced lunch, which should result in
greater diversity in the demographics.” Sizemore Heizer wrote to
Brabrand to suggest that he frame his plan as “increasing
diversity through redefining merit.” Omeish used more
aggressive language, writing that she planned to “support the
proposal towards greater equity, to be clearly distinguished
from equality.”

Even aside from the statements confirming that the Board’s
goal was to bring about racial balance at TJ, the Board's
requests for and consideration of racial data demonstrate
discriminatory intent under McCrory. This does not mean “that any
member of the [Board] harbored racial hatred or animosity toward
[Asian Americans] .” McCrory, 831 F.3d at 233. Discriminatory
intent does not require racial animus. What matters is that the
Board acted at least in part because of, not merely in spite of,
the policy’s adverse effects upon an identifiable group. Feeney,
442 U.S. at 279. That is the case here—the Board’s policy was
designed to increase Black and Hispanic enrollment, which would,

by necessity, decrease the representation of Asian-Americans at

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TJ. Ass'n for Educ. Fairness, 2021 WL 4197458, at *17; see also

 

Doe ex rel. Doe v. Lower Merion Sch. Dist., 665 F.3d 524, 553
(3d Cir. 2011) (discriminatory intent exists when a facially
neutral policy was “developed or selected because it would assign

benefits or burdens on the basis of race”); Lewis v. Ascension

 

Parish Sch. Bd., 662 F.3d 343, 354 (Sth Cir. 2011) (Jones, J.,
concurring) (“[t]o allow a school district to use geography as a
virtually admitted proxy for race, and then claim that strict
scrutiny is inapplicable because” it is facially race-neutral
“is inconsistent with the Supreme Court’s holdings”). Therefore,
strict scrutiny applies.

The burden then shifts to the Board to demonstrate that the
Board’s actions were narrowly tailored to further a compelling
interest. Adarand, 515 U.S. at 227. Strict scrutiny applies to
facially neutral actions “motivated by a racial purpose or
object” in the same manner as when they contain “express racial
classifications.” Miller, 515 U.S. at 913. The Board has not
argued that its actions satisfy strict scrutiny.

The Supreme Court has recognized only two interests as
sufficiently compelling to justify race-based action remedying
past intentional discrimination and obtaining the benefits of
diversity in higher education. Parents Involved, 551 U.S. at
720-23. No remedial interest exists here. In Parents Involved,

the Court refused to extend the diversity rationale to K-12

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schools, writing instead that Grutter had “relied upon
considerations unique to institutions of higher education,” and
that lower courts that had applied it “to uphold race-based
assignments in elementary and secondary schools” had “largely
disregarded” Grutter’s limited holding. Id. at 724-25.

The Board’s main problem is its focus on the goal to have
TJ reflect the demographics of the surrounding area, described
primarily in racial terms. Far from a compelling interest,
racial balancing for its own sake is “patently unconstitutional.”
Fisher, 570 U.S. at 311 (quoting Grutter, 539 U.S. at 330). The
Board cannot transform racial balancing into a compelling
interest “simply by relabeling it ‘racial diversity.’” Id.
(quoting Parents Involved, 551 U.S. at 732 (plurality opinion)).
The school districts in Parents Involved tried various verbal
formulations to deflect from their intent to racially balance
schools through race-based transfers. See Id. at 725, 732
(plurality opinion). The Board here did not even bother with
such “verbal formulations.” Board members and high-level FCPS
actors did not disguise their desire for TJ to represent the
racial demographics of Fairfax County or Northern Virginia as a
whole. Whether accomplished overtly or via proxies, racial
balancing is not a compelling interest.

Even if the Board could identify a compelling interest that

might justify its racially discriminatory changes to the TJ

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admissions process, it still must prove that the changed
admissions policy is “necessary” to accomplish that interest.

Fisher, 570 U.S. at 312 (quoting Regents of Univ. of Cal. v.

 

Bakke, 438 U.S. 265, 305 (1978)). The plan must be a “last
resort” to accomplish the purportedly compelling interest.
Parents Involved, 551 U.S. at 790 (Kennedy, J., concurring in
part and concurring in the judgment). These steps and others,
like further increasing the size of TJ or providing free test
prep, could have been implemented before the Board defaulted to a
system that treats applicants unequally in hopes of engineering a
particular racial outcome. Since overhauling the process was not
the last resort for the Board to accomplish its goals, the
Board’s actions were not narrowly tailored.

The Fourth Circuit has repeated that “once a plaintiff has
established the violation of a constitutional or statutory right
in the civil rights area, .. . court[s] ha[ve] broad and
flexible equitable powers to fashion a remedy that will fully
correct past wrongs.” McCrory, 831 F.3d at 239 (quoting Smith v.
Town of Clarkton, 682 F.2d 1055, 1068 (4th Cir. 1982)). The
proper remedy for a legal provision enacted with discriminatory
intent is invalidation.

For the foregoing reasons, Plaintiff The Coalition for TJ
is entitled to summary judgment, and the Defendant Fairfax

County School Board’s Motion for Summary Judgment should be

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denied. An appropriate Order shall issue.

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CLAUDE M. HILTON
UNITED STATES DISTRICT JUDGE

Alexandria, Virginia
February 2¢, 2022

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